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 5
     Mark S. Bosco
 6   State Bar No. 010167
     Leonard J. McDonald
 7   State Bar No. 014228
     ljm@tblaw.com
 8   Attorneys for Secured Creditor
 9   12-16905
                         IN THE UNITED STATES BANKRUPTCY COURT
10
                                   FOR THE DISTRICT OF ARIZONA
11

12
     IN RE:                                                                No. 2:19-bk-13511-BKM
13
     Michael W. Kennedy                                                           Chapter 13
14

                    Debtors.                                     JOINDER IN TRUSTEE’S MOTION TO
15
                                                                 DISMISS CASE DUE TO DELINQUENT
16                                                                PLAN PAYMENTS PURSUANT TO 11
                                                                          U.S.C. §§1307(C)
17

18
              On July 15, 2020, Trustee Russell Brown filed his Motion to Dismiss Case Due To Delinquent
19
     Plan Payments pursuant to 11 U.S.C. §§1307(C) (Docket Entry #31), GMAT Legal Title Trust 2013-1,
20

21   U.S. Bank National Association, as Legal Title Trustee, a secured creditor, by its attorneys, TIFFANY &

22   BOSCO, P.A., hereby joins in the Motion filed by the Trustee.

23            Debtor filed an Objection to Trustee’s Motion To Dismiss Case For Delinquent Plan Payments on
24
     August 17, 2020 asserting that they have been in contact with secured creditor to negotiate a loan
25
     modification. Secured Creditor asserts that no loan modification documents have been received for review
26




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 1   and there is not an active loan modification in review. Further, Trustee has not disbursed payments to
 2
     Secured Creditor for several months.
 3
            DATED this 28th day of September, 2020.
 4
                                                           Respectfully submitted,
 5
                                                           TIFFANY & BOSCO, P.A.
 6
                                                           BY /s/ LJM #014228
 7                                                              Mark S. Bosco
                                                                Leonard J. McDonald
 8
                                                                Attorneys for Secured Creditor
 9   COPY of the foregoing mailed
     September 28, 2020 to:
10
     Michael Wayne Kennedy
11   PO Box 502
     Tonopah, AZ 85354
12
     Debtor
13
     Russell Brown
14   3838 Noth Central Avenue
     Phoenix, AZ 85012-1965
15   Trustee
16
     Sandra C. Oswalt
17
     3933 S. McClintock Drive, Ste. 500
     Tempe, AZ 85282
18   Attorney for Trustee

19   U.S. Trustee
     Office of the U.S. Trustee
20   230 N. First Ave. #204
     Phoenix, AZ 85003
21

22   By: Jesse Ference

23

24

25

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